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                           11
                                Counsel for Official Committee of Tort Claimants
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   A TTORNEYS AT L A W
     S AN F RANCISCO




                                                         UNITED STATES BANKRUPTCY COURT
                           13                            NORTHERN DISTRICT OF CALIFORNIA
                                                              SAN FRANCISCO DIVISION
                           14
                                In re:                                             Case No. 19-30088 (DM)
                           15
                                PG&E CORPORATION                                   Chapter 11
                           16
                                         -and-                                     (Lead Case)
                           17
                                PACIFIC GAS AND ELECTRIC                           (Jointly Administered)
                           18   COMPANY,
                           19                                 Debtors
                           20                                                      AMENDED MOTION OF THE OFFICIAL
                                                                                   COMMITTEE OF TORT CLAIMANTS
                           21   □ Affects PG& E Corporation                        FOR RELIEF FROM AUTOMATIC STAY
                                                                                   TO PERMIT STATE COURT JURY
                           22   □ Affects Pacific Gas and Electric Company         TRIAL OF 2017 TUBBS WILDFIRE
                                                                                   CLAIMS [Dkt. No. 2842]
                           23   ■ Affects both Debtors
                                                                                   Date:         July 24, 2019
                           24                                                      Time:         9:30 a.m. (Pacific Time)
                                                                                   Place:        United States Bankruptcy Court
                           25   *All papers shall be filed in the Lead Case,                     Courtroom 17, 16 Floor
                                No. 19-30088 (DM)                                                San Francisco, CA 94102
                           26
                                                                                   Objection Deadline: July 19, 2019 at 4:00 p.m.
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                            1   Purpose of the Amendment
                            2          In the Motion of the Official Committee of Tort Claimants (the “TCC”) for Relief from
                            3   Automatic Stay to Permit State Court Jury Trial of 2017 Tubbs Wildfire Claims (“Motion”) [Dkt.
                            4   No. 2842], the TCC moved for an order terminating the automatic stay to permit the individuals
                            5   listed on Exhibit A (the “Tubbs Preference Plaintiffs”) to proceed to a jury trial on their
                            6   personal injury and related property damage claims against the Debtors (as set forth in Exhibits B
                            7   and C), as may be amended. The TCC amends its Motion as set forth below, to request relief
                            8   from stay with respect to five additional plaintiffs and their personal injury, wrongful death and
                            9   related property damage claims against the Debtors as set forth in Amended Exhibits A, B and C
                           10   hereto. Accordingly, all references in the TCC’s memorandum of points and authorities to the
                           11   Tubbs Preference Plaintiffs’ personal injury claims, as amended [Dkt. No. 2855] shall refer to the
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                           12   amended Tubbs Preference Plaintiffs’ personal injury and wrongful death claims.
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     S AN F RANCISCO




                           13   The Amended Motion
                           14          The TCC, in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) of PG&E
                           15   Corporation and Pacific Gas and Electric Company (collectively, the “Debtors” or “PG&E”),
                           16   hereby submits this Motion (the “Amended Motion”), pursuant to section 362(d)(1) of title 11 of
                           17   the United States Code (the “Bankruptcy Code”), sections 1334(c) and 1452(b) of title 28, Rules
                           18   4001 and 5011(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and
                           19   Rule 4004-1 of the Bankruptcy Local Rules for the United States District Court for the Northern
                           20   District of California (the “Bankruptcy Local Rules”) for entry of an order terminating the
                           21   automatic stay to permit the individuals listed on Amended Exhibit A hereto to proceed to a jury
                           22   trial on their personal injury, wrongful death and related property damage claims against the
                           23   Debtors arising from the 2017 Tubbs Fire as set forth in the Complaints against the Debtors
                           24   (attached as Amended Exhibits B and C hereto), as may be amended, and to request the Court in
                           25   the California North Bay Fire Cases, JCCP 4955, to order the Tubbs Preference Plaintiffs’ claims
                           26   to trial with preference pursuant to Code of Civil Procedure section 36. Should the Debtors, in
                           27   response to this Motion, request the Court to permit any additional litigation to go forward in the
                           28   California Superior Court, the TCC requests the Court to terminate the automatic stay with
                                                                                 1
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                            1   respect to the additional litigation. In support of the Motion, the TCC submitted the Amended
                            2   Memorandum of Points and Authorities [Dkt. No. 2855], the declaration of Steven M. Campora
                            3   (“Campora Decl.”) [Dkt. No. 2845], the declaration of Robert A. Julian (“Julian Decl.”) [Dkt.
                            4   No. 2844], the declaration of Michael A. Kelly (“Kelly Decl.”) [Dkt. No. 2847] and the
                            5   declaration of Brent C. Williams (“Williams Decl.”) [Dkt. No. 2846]. Contemporaneously
                            6   herewith, the TCC is filing an amended declaration of Michael A. Kelly. A proposed form of
                            7   order granting the relief requested herein is attached hereto as Exhibit D.
                            8          The Motion was noticed and scheduled pursuant to the Second Amended Order
                            9   Implementing Certain Notice and Case Management Procedures entered on May 14, 2019 [Dkt.
                           10   No. 1996].
                           11   Dated: July 9, 2019                                  BAKER & HOSTETLER LLP
B AKER & H OSTETLER LLP




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   A TTORNEYS AT L A W




                                                                                     By:     /s/ Robert A. Julian
     S AN F RANCISCO




                                                                                                 Robert A. Julian
                           13
                                                                                     Counsel for The Official Committee of Tort
                           14                                                        Claimants
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